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  6

  7

  8
                              UNITED STATES BANKRUPTCY COURT
  9
                              NORTHERN DISTRICT OF CALIFORNIA
 10
                                          SAN JOSE DIVISION
 11
      In re:                                           Case No. 23-50023 MEH
 12                                                    Chapter 13
 13   Y. ROGER YU,                                     OPPOSITION TO MOTION FOR
                                                       RELIEF FROM STAY; CERTIFICATE
 14                                                    OF SERVICE
 15                                                    Date: February 16, 2023
                    Debtor.
                                                       Time: 2:30 p.m.
 16
                                                       Place: Either in person at 280 S. 1st St.,
 17                                                    Courtroom 11, San Jose, CA 95113 OR by
                                                       Tele / Video Conference
 18
                                                       Judge: Honorable M. Elaine Hammond
 19

 20

 21

 22            TO THE HONORABLE JUDGE M. ELAINE HAMMOND, THE UNITED
      STATES TRUSTEE’S OFFICE FOR THE NORTHERN DISTRICT OF CALIFORNIA,
 23
      THE CHAPTER 13 TRUSTEE, THE MOVANT, ALL OTHER PARTIES IN INTEREST,
 24
      AND THEIR RESPECTIVE COUNSEL(S) OF RECORD: Now comes the Debtor herein, Y.
 25
      Roger Yu, by and through his counsel of record, Farsad Law Office, P.C., and hereby submits
 26   the instant Opposition to Douglas Sykes’ Motion for Relief from the Automatic Stay. This
 27   Opposition is supported by the Declarations of Ben Yu and Y. Roger Yu and attached herein.
 28
      OPPOSITION TO MOTION FOR RELIEF FROM                                      Case No. 23-50023 MEH
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      23-50023    Doc# OF
                        41 SERVICE
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                                     I.      INTRODUCTION
  1

  2          The Debtor, Y. Roger Yu, heavily invested in Crypto currency during its rise in 2020.
      The Debtor took out second mortgages and further leveraged his bets with large loans from other
  3
      investors in order to buy / trade Crypto. His profits were up significantly and it all seemed to be
  4
      going very well. However, by the first half of 2022, the Debtor lost everything. The Debtor is
  5
      now clinically depressed. He is still working but is suffering from serious depression and panic
  6   attacks.
  7
             The Movant, Douglas Sykes (“Movant”), is an aggressive, hard money lender. The
  8   Debtor has four mortgages / notes with the Movant. In particular, Movant moved to foreclose
  9   upon one property, 115 College Avenue, Mountain View, CA 94040 (“Property”) as the
 10   secondary lienholder. For the note on the Property, the Debtor made timely payments from its

 11   inception in December 2020 to March 2022. The Movant claims in his Motion for Relief that no
      payments were ever made. This is incorrect.
 12

 13          The note matured on December 1, 2022, and the Movant started foreclosure proceedings
      by recording an official notice of default (“NOD”) in June of 2022. A foreclosure sale was then
 14
      initially set in October, 2022. The Debtor has been trying since that time to reorganize and deal
 15
      with the debt owed, but NEVER hired bankruptcy counsel to assist him--until now. Debtor does
 16
      now acknowledge this was a mistake. After a few hours with the Debtor, current counsel
 17   believes that a Chapter 11 would allow the Debtor to do what he has been trying to do since the
 18   initial foreclosure sale in October.
 19          A summary of the events that have transpired to date, as well as the argument(s) against
 20   relief from stay being granted now, are as follows:
 21
             II.     RELEVANT FACTS / BACKGROUND
 22
         1. This is the Debtor’s first bankruptcy case. This case was initially filed in Pro Per on
 23
             January 11, 2023 and the instant counsel substituted into the case on January 24, 2023.
 24
         2. The Debtor is the 50% owner of Property. The other 50% of the Property is owned by
 25
             Ben Yu, the Debtor’s relative.
 26

 27

 28

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         3. The Debtor is the borrower on three other properties but not on the titles. Those
  1
             properties are: 1047 Cherry St., San Carlos, CA 94070 (“Cherry”); 36500 Alder Ct.,
  2
             Fremont, CA 94536 (“Alder”); and 37591 3rd St., Fremont, CA 94536 (“3rd St.”). 1
  3
         4. In 2017, the Debtor transferred title to these properties to separate trusts whereby the
  4
             Debtor is not the settlor or the beneficiary of the trusts.
  5
         5. Movant holds a second deed of trust on the Property. (A true and correct copy of the
  6
             Deed of Trust and Promissory note are attached as Exhibit A.)
  7
         6. Movant also holds a second deed of trust on the Cherry, Alder and 3rd St. properties. All
  8
             of the loans from Movant were taken out around the same time and all of the money
  9
             resulting from those loans was lost in the same manner.
 10
         7. As to the Property, the current liens and arrears are as follows:
 11

 12              a. Shellpoint - Mortgage Principal owed: $464,161.00 with $58,621.97 in arrears;
                 b. Douglas Sykes - $285,000 principal borrowed at 8.5% interest (exact amount
 13
                    owed is in dispute).
 14

 15      8. The Debtor made timely, monthly payments of $2,018.75 to Movant as called for under
             the note every month from December 2021 to March 2022. (A true and correct copy of
 16
             the Douglas Sykes’s Demand dated May 20, 2022 is attached herein as Exhibit B.)
 17
         9. However, Movant is attempting to foreclose for the wrong amount owed. (A true and
 18
             correct copy of the Notice of Default is attached as Exhibit C.)
 19

 20              a. Two State Court Lawsuits (all in Pro Per) Re: the Property.

 21                       i. Ben Yu’s Initial State Court Lawsuit.

 22      10. As stated above, the Debtor went into a deep depression after losing all of his own and
 23          his investors’ monies. This money included the Movant’s loans. When the Property was
 24          hit with the Notice of Trustee’s Sale (“NTS”) in October of 2022, Ben Yu, Debtor’s
             relative, who lived (and still lives with him at the Property), proceeded to file a lawsuit to
 25

 26

 27      1. All of these properties are being dealt with in their own Chapter 13 cases. The subject case is only
            dealing with the Property -- 115 College Avenue in Mountain View.
 28

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            stop the foreclosure / attempted foreclosure of the Property. Ben Yu was 50% owner and
  1
            so he had standing to do so.
  2
         11. This case is identified as Santa Clara Superior Court Case number 22CV404291 and is
  3
            titled Ben Yu v. Entra Default Solutions, LLC. (Entra being the foreclosure trustee.) It
  4
            was filed on October 10, 2022. (A true and correct copy of the First Amended Complaint
  5
            is attached as Exhibit D.)
  6
         12. Ben Yu’s Complaint alleged that:
  7
                    A. he had never received the NOD as a co-owner;
  8

  9                 B. the foreclosure trustee Entra Default Solutions, LLC was not a party to the
            subject deed of trust; that he did not know who they were and, therefore, they should not
 10
            be able to foreclose;
 11

 12                 C. Ben Yu did not borrow any money from the Movant and therefore the
            foreclosure should be stopped; and
 13

 14                 D. Ben Yu sued the foreclosure trustee (Entra Default Solutions, LLC) and not the
            right party who was actually foreclosing on the Property-i.e., Douglas Sykes. Clearly,
 15
            without counsel to advise him, these legal arguments failed miserably.
 16

 17      13. Ben Yu, continuing the case in Pro Per, sought a temporary restraining order to stop the
            foreclosure. That TRO was denied based on a lack of proof of service and adherence to
 18
            local Ex Parte rules.
 19
                a. The Debtor’s State Court Lawsuit.
 20

 21      14. Ben Yu, after not being successful at his State Court Lawsuit plus his failed bankruptcies

 22         which will be discussed below, and not being able to stop the foreclosure of his home /
            the Property, pleaded with the Debtor to help him. Ben Yu begged the Debtor to take
 23
            proactive steps and help stop the foreclosure and save their home -- since Ben Yu had
 24
            very little knowledge of the loan and the events surrounding it.
 25
         15. The Debtor finally got involved and filed his first state court lawsuit (after Ben Yu’s
 26
            failed state court lawsuit AND bankruptcies) on January 10, 2023 under case number
 27
            23CV409727, in Santa Clara Superior Court, in Pro Per. The complaint alleged
 28         violations of California Civil Code section 1671 and Unfair Business Practices centered

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               on the charging of a very high default interest rate at 13.5%. This time, the correct
  1
               defendant, Movant Douglas Sykes was sued. Once again, without legal counsel, the TRO
  2
               to stop the foreclosure in this case was denied based on the lack of service and adherence
  3            to local Ex Parte rules. (A true and correct copy of the State Court Ex Parte Application
  4            for Temporary Restraining Order and underlying Complaint, Order Denying attached
  5            herein as Exhibit E.)

  6                 b. The Bankruptcy Cases.
  7
         16. Having failed miserably at his short-lived state court endeavors, on October 26, 2022,
  8            Ben Yu filed skeletal, Chapter 13 bankruptcy under case number 22-50976 SLJ in Pro
  9            Per in order to stave off the foreclosure of the Property. Ben Yu never filed bankruptcy
 10            before this case and no surprise, the case was automatically dismissed two weeks later on

 11            November 10, 2022 for a failure to file documents / schedules.

 12      17. On December 9, 2022, Ben Yu filed a second bankruptcy case under case number 22-
 13            51110 MEH. This case was also in Pro Per and a skeletal petition. In this case, Ben Yu
               further filed an Ex Parte Motion to Extend Time to File Case Opening Documents on
 14
               December 23, 2023 (Dkt. No. 14) as well as an Ex Parte Motion to Extend the Automatic
 15
               Stay on January 21, 2023 (Dkt No. 21) citing that he was then aware of the court
 16
               deadlines and that he was trying to find an attorney to help him proceed with the case.
 17            The Movant opposed the extension and asserted that there had not been the necessary
 18            ‘substantial change in circumstances’ to warrant the requested extension of stay.
 19      18. The Court agreed with the Movant primarily because of the Pro Per usual deficiencies in
 20            the forms and procedures and further found that there was no ‘change in circumstances’
 21            (at least nothing argued or documented) to warrant a finding to extend the stay. (A true

 22            and correct copy of the Order Denying Motion to Extend the Automatic Stay is attached
               herein as Exhibit G.) 2
 23

 24      19. On January 11, 2023, with the foreclosure sale looming and without any protection, the
               Debtor desperately sought protection to prevent foreclosure of his home. Due to the
 25
               denial of Motion to Extend the Automatic Stay in Ben Yu’s case, which led to no current
 26
               protection from foreclosure, the Debtor filed the instant bankruptcy in Pro Per (his first
 27

 28      2
             Ben Yu retained counsel one day before the hearing on the Motion to Extend Stay.

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            case) and immediately sought legal counsel to help formulate a real ‘Plan’ to resolve the
  1
            disputed debt with Movant and generally reorganize all of other debts.
  2
         20. Upon review of the instant case, Debtor’s counsel (as discussed infra) believes a viable
  3
            and feasible prospective plan / proposal is possible. Debtor’s counsel asks that the Court
  4
            to consider allowing the case to proceed to realize such a possibility; to allow the Debtor
  5
            a “fresh start” under a confirmed Chapter 11 Plan. A motion to convert to Chapter 11 is
  6         being filed concurrently herewith this Opposition.
  7
         21. With regards to the Motion for Relief -- the Debtor’s arguments against granting said
  8         relief at this time are as follows:
  9

 10
            III.    DISCUSSION
 11                     a. Cause Does Not Exist to Warrant Relief from the Automatic Stay under
 12                        362(d)(1) and 362(d)(2)

 13      22. Under 11 U.S.C. 362(d), a Court can terminate the stay in a bankruptcy case if it finds
 14         ‘cause’, under 362(d)(2), whether there is equity in the property or the property is
 15         necessary towards an effective reorganization. This statute is worded in the
 16         conjunctive; both (A) and (B) have to be satisfied before relief from stay may be
 17         accorded under this subsection.
 18      23. Regarding equity, the Debtor believes that the Property, because it is in very poor
 19         condition, is worth at most $400,000. The Movant, in its Motion, has valued the property
 20         at $925,000. The Debtor has a first lien with a balance of approximately $500,000.00.
 21         Hence, the Debtor agrees and concedes that the Property has virtually no equity.
 22      24. Once the Movant substantiates that the Debtor has no equity in the property, the burden
 23         shifts to the debtor to establish that the property is "necessary to an effective
 24         reorganization" and that there is "a reasonable possibility of a successful reorganization
 25         within a reasonable time." United Sav. Ass'n v. Timbers of Inwood Forest Assocs.,
 26         Ltd., 484 U.S. 365, 376 (1988). The Debtor must show "not merely that if there is
 27         conceivably to be an effective reorganization, this property will be needed for it; but that
 28         the property is essential for an effective reorganization that is in prospect."

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  1      25. The Property is the Debtor’s residence and where he conducts his business as an IT

  2            consultant. The Debtor’s estate needs the Property so the Debtor can continue living and

  3            working under shelter (and in Mountain View / where his business has been and where

  4            all of his contacts are) so he can fund a soon to be proposed plan of reorganization.

  5            Although red-tagged and on a very small lot, the location is ideal for his business in IT.

  6      26. With regards to the Property, the framework for the Debtor’s prospective plan of

  7            reorganization is outlined as follows:

  8
      Debtor to Strip Off Lien.
  9
       Class        Name of Creditor                Collateral                          Amount Due
 10    1A           Douglas Sykes                   115 College Ave., Mountain          $313,655.00 –
                    (Junior Lienholder)             View, CA 94040                      exact amount
 11                                                                                     disputed
 12                   Prior to confirmation, Debtor will obtain an order(s) or stipulation(s) fixing the
      secured amount of the above creditors’ claims at zero. Debtor will pay nothing to those creditors
 13   as secured claims. Any claim of a creditor whose lien is stripped is a general unsecured claim
      treated in Part 2. Creditors in these classes shall retain their interest in the collateral consistent
 14   with the Court’s Guidelines for Valuing and Avoiding Liens in Individual Chapter 11 Cases and
      Chapter 13 Cases.
 15
                     Creditors in these classes may not repossess or dispose of their collateral so long
 16   as Debtor is not in material default under the Plan (defined in Part 6(c)). The Court’s Guidelines
      for Valuing and Avoiding Liens in Individual Chapter 11 Cases and Chapter 13 Cases will apply.
 17   These secured claims are impaired and are entitled to vote on confirmation of the Plan.
 18
      Debtorto Adjust Terms and Pay Amount Due in Full Over Time.
 19

 20    Class       Name of             Collateral           Amount        Intere     Monthly        Term
                   Creditor                                 Due           st         Payment
 21                                                                       Rate
 22    1B          Shellpoint          115 College          $464,161.00   3.00%      $2,491.72      30
                   Mortgage            Ave.,                                                        years
 23                Servicing           Mountain
                   (Primary            View, CA
 24                Mortgage)           94040

 25                 Debtor will pay the entire amount contractually due with interest through 360
      equal monthly payments, due the 15th day of the month, starting Effective Date on the above
 26   secured claims. Creditors in these classes shall retain their interest in the collateral until Debtor
      makes all payments on the allowed secured claim specified in the Plan.
 27
                     Creditors in these classes may not repossess or dispose of their collateral so long
 28   as Debtor is not in material default under the Plan (defined in Part 6(c)). These secured claims
      are impaired and are entitled to vote on confirmation of the Plan.
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  1                  Payments to claimants in these classes may continue past the date Debtor obtains
      a discharge. The claimants’ rights against its collateral shall not be affected by the entry of
  2   discharge, but shall continue to be governed by the terms of this Plan.
  3
      Class 2. General Unsecured Claims.
  4
       Name of Creditor           Amount of Claim         Disputed      Amount to be       Monthly
  5                                                        Y/N          Paid               Payment

  6    Douglas Sykes              $313,655.00             Y – as to     $31,365.50         $522.76
                                                          amount
  7                                                       only
  8    James Lee                  $691,379.00             N             $69,137.90         $1,152.30
  9    Justin Lin                 $850,773.00             N             $85,077.30         $1,417.95
       Taylor Chen                $978,653.00             N             $97,865.30         $1,631.08
 10
       Wei Wang                   $588,671.00             N             $58,867.10         $981.12
 11    Total                      $3,423,131.00           N             $342,313.10        $5,705.22
 12
                      Allowed claims of general unsecured creditors (including allowed claims of
 13   creditors whose executory contracts or unexpired leases are being rejected under this Plan) shall
      be paid as follows:
 14
               Pot Plan. Creditors will receive a pro-rata share of a fund totaling $342,313.10, created
 15            by Debtor’s payment of $5,705.22 per month for a period of 60 months, starting Effective
               Date. Pro-rata means the entire amount of the fund divided by the entire amount owed to
 16            creditors with allowed claims in this class.
               As indicated above in the sample chapter 11 plan claimant treatment boxes, the Debtor
 17
      intends to file a Motion to Value the Movant’s lien as being wholly unsecured. Although a
 18
      dispute as to value is anticipated, the Debtor is in the middle of completing a formal appraisal
 19
      and believes that the value will not be an issue once the appraisal report is reviewed by Movant /
 20
      Movant’s counsel. Once it is determined that the Movant’s lien is wholly unsecured, the Debtor
 21
      will place Movant in Class 2 and offer him as well as the other large unsecured class creditors
 22
      10% of their claims over 60 months. Further, with regard to the first mortgage on the Property,
 23
      Debtor’s counsel has already begun negotiations with Shellpoint for a new mortgage agreement.
 24
      An agreement to a Stipulation to Chapter 11 Plan / Claim Treatment seems likely.
 25
               Regarding the debt on the other properties, the Alder, 3rd , and Cherry properties will be
 26
      handled through two other respective bankruptcies and one state court case filed by the people on
 27

 28

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  1   title – Harry Yu (as to the 3rd St. property under case no. 22-41324) 3 and Brian Yu (as to the

  2   Alder St. property under case no. 22-41315) 4 and Yolanda Jin (San Mateo Case No.

  3   23CIV00088) 5.

  4             As stated above, the Debtor and his counsel do not believe that the necessary ‘cause

  5   exists’ to grant relief from stay exists.

  6                  c. In Rem Relief Should not be Granted Because There is No Bad Faith.

  7             The Movant seeks relief under Bankruptcy Code § 362(d)(4), alleging that the Debtor and

  8   Ben Yu filed the prior bankruptcy petitions (two by Ben Yu) and the two lawsuits as a scheme to

  9   hinder, delay, or defraud creditors-especially the Movant. However, the Movant cites no

 10   evidence of anything other than some Pro Per property owners trying to navigate the legal

 11   system on their own. All they have proved is that skeletal bankruptcy petitions were filed. The

 12   Movant fails to prove that neither the Debtor nor Ben Yu filed these bankruptcy petitions and the

 13   state court lawsuits as a scheme to hinder, delay or defraud creditors. If the Movant considered

 14   the circumstances surrounding each filing in detail, they would realize that the Debtor and Ben

 15   Yu didn’t know what to do / panicked. The prior filings failed to gain traction not from

 16   maliciousness but pure inexperience and lack of proven legal counsel. Also, as discussed infra,

 17   “in rem” relief is very serious and should only be granted in cases of clear abuse of the

 18   bankruptcy process. When a court grants relief from the automatic stay pursuant to 11 U.S.C §

 19   362(d)(4), it gives creditors in rem relief from the automatic stay such that the order is binding in

 20   any bankruptcy case filed in the next two years purporting to affect the same real property.6

 21             Specifically, § 362(d)(4) states as follows:

 22
                         (d) on request of a party in interest and after notice and a hearing, the
 23                      Court shall grant relief from the stay provided under subsection (a) of
 24                      This section, such as by terminating, annulling, modifying, or

 25       3
             Farsad Law Office, P.C. is not the attorney for the Debtor in this case.
 26
          4
             Farsad Law Office, P.C. is not the attorney for the Debtor in this case.
           5
             The Movant discusses Yolanda Jin’s 2 bankruptcies and 1 state court case in depth, but those
 27   discussions should not be relevant to the subject / sole Property that the Movant is seeking relief from stay
      to foreclose on here.
 28       6
              See, 11 U.S.C. § 362(d)(4).

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                       Conditioning such stay--
 1                     (4) with respect to a stay of an act against real property under
 2                     subsection (a), by a creditor whose claim is secured by an interest
                       in such real property, if the court finds that the filing of the petition
 3                     was part of a scheme to delay, hinder, or defraud creditors that
                       involved either—
 4
                       (a) transfer of all or part ownership of, or other interest in, such
 5
                       real property without the consent of the secured creditor or
 6                     court approval; or
                       (b) multiple bankruptcy filings affecting such real property.
 7
              If recorded in compliance with applicable state laws governing notices of interests or
 8
      liens in real property, an order entered under paragraph (4) shall be binding in any other case
 9
      under this title purporting to affect such real property filed not later than 2 years after the date of
10
      the entry of such order by the court, except that a Debtor in a subsequent case under this title
11
      may move for relief from such order based upon changed circumstances or for good cause
12
      shown, after notice and a hearing. Any federal, state, or local governmental unit that accepts
13
      notices of interests or liens in real property shall accept any certified copy of an order described
14
      in this subsection for indexing and recording. 7
15
              To qualify for relief from the automatic stay under § 362(d)(4), the Movant must show
16
      that the Debtor engaged in a scheme to delay and hinder its creditors. Under fraudulent transfer
17
      law, “hinder” and “delay” have the same meaning. 8 To delay and hinder a creditor is to forestall
18
      its efforts in collecting on its debt unlawfully. 9 Such cases involve clear and definitive schemes
19
      where the Debtor has engaged in activity such as: “property dumping”10, trust transferring, 11
20
      and filing willfully fraudulent skeletal petitions. 12 These examples are truly schemes to hinder,
21
      delay or defraud creditors. The law was designed to prevent such types of dishonest and
22
          7
           See, 11 U.S.C. § 362(d)(4).
23        8
           See, e.g., In re Braus, 248 F. 55, 64 (2d Cir.1917).
         9
           Id.
24 10 “Property dumping” involves schemes where the debtor does not list the property on his or her schedules
    in the bankruptcy case. (See, In re Dorsey (Bankr. C.D. Cal. 2012) 476 B.R. 261, 266).
25 11 “Trust transfers” is where the ownership interests in the Subject Property were transferred without its
    consent…The quitclaim deed stated that the transfer was from A S Trust to itself and the Debtor and that
26 the transfer was for “No Consideration.” (See, In re Dorsey (Bankr. C.D. Cal. 2012) 476 B.R. 261, 269).
    12
       Debtor's serial filing of skeletal Chapter 13 petitions, coupled with failure to appear at creditor's meeting
27 and failure to make payments to Chapter 13 trustee, supported conclusion that debtor's conduct was
    “willful,” and that debtor's case should be dismissed “with prejudice” so as to prohibit debtor's filing of any
28 bankruptcy case for period of 180 days. (Bankr.Code, 11 U.S.C.A. §§ 105(a), 109(g).; In re
    Armwood (Bankr. N.D. Ga. 1994) 175 B.R. 779).
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 1   fraudulent debtors from filing and deceiving creditors. As stated above, and from the facts in the

 2   Court’s own records, this is not the case with our current Debtor, Y. Roger Yu. Unlike cases

 3   where debtors have illegally transferred their property, dumped their property into someone

 4   else’s case filing via a fractional interest, or engaged in other illegal acts to delay their creditors,

 5   the Debtor in this case has not engaged in any misconduct. The title transfers all occurred in

 6   2017 prior to obtaining these loans from Movant. The lawsuits (although sloppy / misdirected)

 7   were filed in good faith by the Debtor and his co-owner in desperate attempts to try to stop the

 8   sale of the Property while trying to figure out what to do.

 9           Now, with the assistance of competent bankruptcy counsel, the Debtor can work on a

10   plan of reorganization that complies with the Bankruptcy Code. The Debtor merely asks for the

11   opportunity to try to complete a case with counsel.

12

13                                                  CONCLUSION

14           For all of the foregoing reasons, the Debtor respectfully requests that the Court deny the

15   Movant’s Motion for Relief from Stay.

16
     DATED: February 14, 2023
17

18
                                           Respectfully submitted,
19
                                           FARSAD LAW OFFICE, P.C.
20
                                           By: /s/ Nancy Weng
21                                             Nancy Weng, Esq.
22                                             Attorneys for Debtor

23

24

25

26

27

28

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      23-50023 TO MOTION
                Doc#  41 FOR  RELIEF
                          Filed:           -11-
                                 02/15/23 Entered: 02/15/23 13:16:47Case No. 22-50907
                                                                      Page    11 of MEH
    FROM STAY; CERTIFICATE OF SERVICE 49
 1

 2

 3

 4
                                 CERTIFICATE OF SERVICE
 5
             I am NOT a party to the within action; my business address is FARSAD LAW OFFICE,
 6   P.C., 1625 The Alameda, Suite 525, San Jose, CA 95126. On February 14, 2023, I served the
 7   interested parties with the document(s) described as follows:

 8
        1. OPPOSITION TO MOTION FOR RELIEF FROM STAY; CERTIFICATE OF
 9   SERVICE,

10
     BY USPS FIRST CLASS MAIL: By placing a TRUE COPY thereof enclosed in a sealed
11
     envelope with postage fully pre-paid addressed to all addressees listed below and on the attached
12   Court Creditor Matrix. The envelope was deposited in the United States Post Office in San
13   Jose, California.

14   BY ELECTRONIC TRANSMISSION: I also caused to be served the above-described
15   documents by means of electronic transmission of the Notice of Electronic Filing through the
     Court’s transmission facilities, to the following parties and/or counsel who are registered ECF
16
     users: All CM/ECF registered participants.
17

18   Executed on February 14, 2023 at San Jose, California.

19
     I declare under penalty of perjury that the above statements are true and accurate.
20

21   /s/ Arasto Farsad
     Arasto Farsad
22

23

24

25

26

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28

Case:OPPOSITION
      23-50023 TO MOTION
                Doc#  41 FOR  RELIEF
                          Filed:           -12-
                                 02/15/23 Entered: 02/15/23 13:16:47Case No. 22-50907
                                                                      Page    12 of MEH
    FROM STAY; CERTIFICATE OF SERVICE 49
Label Matrix for local noticing                        CA Employment Development Dept.                      CA Franchise Tax Board
0971-5                                                 Bankruptcy Group MIC 92E                             Attn: Special Procedures
Case 23-50023                                          P.O. Box 826880                                      P.O. Box 2952
California Northern Bankruptcy Court                   Sacramento, CA 94280-0001                            Sacramento, CA 95812-2952
San Jose
Wed Feb 15 07:08:41 PST 2023
Devin Derham-Burk                                      Douglas Sykes                                        Arasto Farsad
P.O. Box 50013                                         c/o Scheer Law Group, LLP                            Farsad Law Office, P.C.
San Jose, CA 95150-0013                                155 North Redwood Dr #100                            1625 The Alameda, Suite 525
                                                       San Rafael, CA 94903-1966                            San Jose, CA 95126-2224


Franchise Tax Board                                    Internal Revenue Service                             James Lee
Bankruptcy Section MS A340                             P.O. Box 7346                                        P.O. Box 20224
P.O. Box 2952                                          Philadelphia, PA 19101-7346                          Seattle, WA 98102-1224
Sacramento, CA 95812-2952


Justin Lin                                             MCLP Asset Company, Inc. c/o                         Newrez LLC
1053 E. Meadow Circle                                  NewRez LLC dba Shellpoint Mortgage Servi             1100 Virginia Dr Suite 125
Palo Alto, CA 94303                                    PO Box 10826                                         Fort Washington, PA 19034-3235
                                                       Greenville SC 29603-0826


Office of the U.S. Trustee / SJ                        (p)PNC BANK RETAIL LENDING                           Shellpoint
U.S. Federal Bldg.                                     P O BOX 94982                                        PO Box 10826
280 S 1st St. #268                                     CLEVELAND OH 44101-4982                              Greenville, SC 29603-0826
San Jose, CA 95113-3004


(p)CALIFORNIA STATE BOARD OF EQUALIZATION              Taylor Chen                                          (p)U S ATTORNEY’S OFFICE NORTHERN DISTRICT
ACCOUNT REFERENCE GROUP MIC 29                         1525 MIramonte Ave., #3082                           450 GOLDEN GATE AVENUE
P O BOX 942879                                         Los Altos, CA 94024-9001                             9TH FLOOR
SACRAMENTO CA 94279-0029                                                                                    SAN FRANCISCO CA 94102-3419


Wei Wang                                               Reilly Wilkinson                                     Y. Roger Yu
No. 3388 Zhoujiazui Rd., Bldg. 8                       Scheer Law Group                                     115 College Ave
Shanghai, China                                        155 N Redwood Dr. #100                               Mountain View, CA 94040-1512
                                                       San Rafael, CA 94903-1966




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


PNC Bank                                               State Board of Equalization                          U.S. Attorney
P.O. Box 1820                                          Attn: Special Procedures Section, MIC:55             Civil Division
Dayton, OH 45401                                       P.O. Box 942879                                      450 Golden Gate Ave.
                                                       Sacramento, CA 94279                                 San Francisco, CA 94102-3400




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                   Case: 23-50023           Doc# 41      Filed: 02/15/23 Entered: 02/15/23 13:16:47                      Page 13 of
                                                                       49
(u)Douglas G. Sykes                        End of Label Matrix
                                           Mailable recipients   20
                                           Bypassed recipients    1
                                           Total                 21




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                                                           49
                              EXHIBIT A



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                                         49
Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 16 of
                                         49
Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 17 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 18 of
                                         49
Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 19 of
                                         49
Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 20 of
                                         49
Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 21 of
                                         49
Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 22 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 23 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 24 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 25 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 26 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 27 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 28 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 29 of
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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 30 of
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                              EXHIBIT B



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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 32 of
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                              EXHIBIT C



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Case: 23-50023   Doc# 41   Filed: 02/15/23 Entered: 02/15/23 13:16:47   Page 36 of
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                              EXHIBIT D



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                                         49
Ben Yu
115 College Ave,
Mountain View,         CA 94040
Email: mtvbenyu@gmai1.com
Plaintiff in Pro Per


                             SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                             COUNTY OF SANTA CLARA
Ben Yu, individually and as Trustee 0f the                        Case N0: 22CV404291
115 College Avenue Trust, dated July 28,
2017,                                                            First    Amended Complaint
                                      Plaintiffs,




Entra Default Solutions,         LLC,      a California
Corporation; and DOES            I   through 10,
Inclusive,



                                      Defend ants.




Comes now       Plaintiff Ben        Yu   (“Plaintiff”),   who   complains and alleges as follows:

                                                           PARTIES

         (1) Plaintiff       Ben Yu   (“Plaintiff), is     and   at all   times relevant hereto was an


         individual and trustee of the 115 College                 Avenue     Trust, dated July 28, 201 7           who   has an

         ownership       interest in      an owner-occupied residential real property located              at       115 College

        Ave, Mountain View,               CA 94040    (the “Property”).


         (2) Plaintiff is      informed and believes and thereupon alleges that Entra Default Solutions

         LLC,    is   a Califomia corporation conducting business within this judicial district, and


         claiming an interest in the Property.                                                                  f




         (3)   The    true   names and      capacities of defendants        named   herein as   DOES   1   tIEIrough      10 are

        unknown         t0 Plaintiff at this time,     who   therefore sues said defendants       by suéh            ﬁctitious




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                                                          49
      names.
                                                                                                                          W




      (4) Plaintiff will seek leave                 0f Court       to   amend   this   Complaint         to insert the tru;e   names and

      capacities of such ﬁctitiously-named defendants                             when     they have been         ascerta‘lined.


      Plaintiff is          informed and believe and thereupon allege that such defendants are                                 lia       le for


      the injuries t0 Plaintiffhereinafter alleged.


      (5) Plaintiff is            informed and believes and thereupon alleges that the defendants nafned as

      DOES        1    through 10 are individuals and/or                  unknown        entities that reside and/or COIIIduct


      business within this judicial                 district,      and claiming an        interest in the Property.
                                                                                                                                     I




      (6) Plaintiff is            informed and believes and thereupon alleges that the defendants nafmed

      as    DOES        1    through 10 are responsible in some manner for the occurrences hereinlaﬁer

      alleged,        and that       Plaintiff” s   damages were proximately caused by these                         defendanlts.


      (7)   At   a1]   relevant times to this action, the defendants, and each 0f them, acted in concert


      with, and/or               was the   agent, partner, afﬁliate, joint venturer, co-conspirator, aider and


      abettor, servant, associate, representative, predecessor—in-interest and/or                                    successor—in—

      interest     of the         other.


                                                       JURISDICTION             AND VENUE
      (8)   This      is    an action for injunctive and declaratory                   relief,   and damages against Entra

      Default Solutions               LLC     for wrongﬁJl foreclosure            and for violation of the Homeowners

      Bill   Of Rights (“HBOR”).

      (9)   This Court has subject-matter jurisdiction over the causes 0f action alleged in                                          this


      Complaint because                this   Coum     is   a court of general subj ect-matter jurisdiction and is not


      otherwise excluded                   ﬁom   exercising subject—matter jurisdiction over said capses of action.


      (10) This Court has personal jurisdiction over Defendants because each Defendant


      resides in,           is   incorporated    in,   has   its   main place ofbusiness           in,   and/or condimts business

      in the State           Of California, and         a substantial portion 0f the acts, omissions, events, and




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                                                            49
                                                                                                                    i




         transactions constituting the causes of action alleged herein occurred Within the Séate of


         California. California        Code of Civil Procedure           §   410.10.                            !




                                                                                                                |



                                                                                                                                       N
         (1 1).   This Court   is   the appropriate venue for this action under Califomia Cod'e 0f Civil


         Procedure sections 395 and 395.5, because the acts that give                    rise t0 the causes             of action

         alleged herein occurred in the County 0f Santa Clara, State of California. Plaintiffghereby
                                                                                                                                   I




         designates the County of Santa Clara, State               Of California,      as the place ofproper v'enue.
                                                                                                                               I


                                                                                                                               F




                                                 GENERAL ALLEGATIONS                                                           i




         On    or around September 15, 2022, Plaintiff found a “Notice 0f Trustee’s Sale” (Exhibit                                          A)
                                                                                                                           I




posted by Defendant on the door of the Property that Plaintiff owns.                     The “Notice ofTrustee’s

Sale” from Defendant claimed that Plaintiff is in default under a deed of trust dated 11/25/2020


and   Plaintiff’s Property will       be sold   at a   public auction 0n “10/12/2022 at 10:00AM”, at “the

Gated North Market Street entrance 0f the Superior Courthouse, 191 N.                        First Street,      San Jose,

CA 951 13”.
         However,      Plaintiff has never received         any “Notice 0f Default” before, and had no

knowledge ofthe “Deed ofTrust dated 11/25/2020”. Upon checking the “Deed ofTrust dated

11/25/2020”, that “Deed ofTrust dated 11/25/2020” was not sigled by Plaintiff. Plaintiff did not


know    the claimed “lender” in the        “Deed ofTrust”, and           also Plaintiff has never   borrowed any

money from        the claimed “lender” in the          “Deed of Trust”.

         Defendant     is   acting in concert to deprive Plaintiff 0f his civil rights          by attempting                          to


take Plaintiff’s Property without due process 0f law.


                                                          PRAYER
WHEREFORE,           Plaintiff prays for relief as follows:


1.   General damages in an amount to be proven               at trial;

                                                                                                            f




2.   Special   damages   in an   amount    t0   be proven    at trial;
                                                                                                         F




3.   For an order enjoining defendants from taking any action                   to sell the Property;




                                                                                                        {


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                                                       49
4.   For pre and post judgment   interest;


5.   For punitive damages;

6.   For costs 0f suit; and,

7.   For such other and further relief as the Court   may deem just and    proper.




Respectfully submitted,
Dated: October 24, 2022

                                                           gem 7;»

                                                      Ben Yu,   Plaintiff in Pro Per




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                                                 49
                                               VERIFICATION

                      STATE OF CALIFORNIA, COUNTY OF SANTA CLARA

    I   have read the foregoing   VERIFIED FIRST AMENDED COMPLAINT                           and know        its

                                                     contents.


    I am a party t0 this     action.   The   matters stated in the foregoing document are true of rrny
 own knowledge except        as t0 those matters which are stated on information and         belief,   and as      to
                                 those matters, I believe them to be true.


                      Executed   On    October 24 2022       at   Mountain View, Califomia
         I   declare under penalty of perjury under the laws of the State         Of California   that the
                                         foregoing   is   true   and   correct.




                                                                                             55H Ya

                                                                                              Ben    Yu:




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                                                     49
                              EXHIBIT E



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                              EXHIBIT F



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                                         49
                                                                                                   Entered on Docket
                                                                                                   January 05, 2023
                                                                                                   EDWARD J. EMMONS, CLERK
                                                                                                   U.S. BANKRUPTCY COURT
                                                                                                   NORTHERN DISTRICT OF CALIFORNIA



                                             1
                                                                                              The following constitutes the order of the Court.
                                             2                                                Signed: January 5, 2023

                                             3
                                             4
                                                                                               _________________________________________________
                                             5                                                 M. Elaine Hammond
                                                                                               U.S. Bankruptcy Judge
                                             6
                                             7
                                                                        UNITED STATES BANKRUPTCY COURT
                                             8
                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                             9
                                                                                                    ) Case No. 22-51110 MEH
                                            10   In re                                              )
UNITED STATES BANKRUPTCY COURT




                                                                                                    ) Chapter 13
                                            11   BEN YU,
  for the Northern District of California




                                                                                                    )
                                                                                                    )
                                            12                                                      )
                                                                                                    )
                                            13                                  Debtor.             )
                                                                                                    )
                                            14                                                      )
                                            15       ORDER DENYING EX PARTE MOTION TO EXTEND THE AUTOMATIC STAY
                                            16           On January 4, 2023, Debtor filed an Ex Parte Motion to Extend the Automatic Stay
                                            17   (“Motion”) (Dkt. # 21). Debtor’s chapter 13 case was filed on December 9, 2022, and the
                                            18   automatic stay expires on January 8, 2023.
                                            19           Debtor’s request for an extension of the stay on an ex parte basis is not allowed. As
                                            20   set forth in Bankruptcy Local Rule (“BLR”) 4001-2 1, a motion to extend the stay should be
                                            21   served on 14 days’ notice. If a shorter time is needed, Debtor must file a motion for a hearing
                                            22   on shortened time. See BLR 9006-1.
                                            23           A request to shorten time should be accompanied by a declaration identifying the
                                            24   foreclosing creditor, the effort made to have such creditor agree to a hearing on shortened
                                            25   time, and any response received.
                                            26
                                            27
                                                 1
                                                  The Bankruptcy Local Rules are available on the court’s website at:
                                            28   https://www.canb.uscourts.gov/procedures/local-rules
                                                                                               1

                                             Case:
                                             Case: 22-51110
                                                   23-50023 Doc#
                                                            Doc# 24
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                                                                    Filed: 01/05/23
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                                                                                              02/15/23 13:07:12
                                                                                                       13:16:47 Page
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                                             1          Debtor’s current request to extend stay fails to identify whether the stay is to be
                                             2   extended to all creditors or only specific creditors. Specific creditors must be identified by
                                             3   name. The request to shorten time and motion to extend stay must be served on all creditors
                                             4   to be stayed. Thus, Debtor’s Motion is denied.
                                             5          IT IS SO ORDERED.
                                             6
                                             7                                       **END OF ORDER**
                                             8
                                             9
                                            10
UNITED STATES BANKRUPTCY COURT




                                            11
  for the Northern District of California




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                                             Case:
                                             Case: 22-51110
                                                   23-50023 Doc#
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                                                                                                       13:16:47 Page
                                                                                                                Page 248ofof3
                                                                                  49
                                             1                             COURT SERVICE LIST
                                             2
                                             3   Via ECF:
                                             4   All ECF Recipients
                                             5   Via Mail:
                                             6   Ben Yu
                                             7   115 College Ave
                                             8   Mountain View, CA 94040
                                             9
                                            10
UNITED STATES BANKRUPTCY COURT




                                            11
  for the Northern District of California




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                                             Case: 22-51110
                                                   23-50023 Doc#
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